         Case 3:13-cr-04510-JAH                       Document 1283                   Filed 04/08/16             PageID.6369               Page 1 of
                                                                                 5

     "",,02458 (CASD) (Rev. 4114)   Judgment in a Criminal Case
                                                                                                                                  FILED
               Sheet 1
                                                                                                                                   ADD 4\ 0      on'~




                                             UNITED STATES DISTRICT COUR'                                                     --.-
                                                                                                                         CLERK US DISTRICT COURT
                                                                                                                      SOUTHERN DISTRICT OF CALIFORNIA
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                     BY                 /I -r~EPUTY

                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November I, 1987)

                         Alvin Bernard Mitchell -2                                   Case Number: 13-cr-0451O-JAH-2
                                                                                     Kurt David Hermansen
                                                                                     Defendant's Attorney
     REGISTRATION NO. 36859048
     D
     THE DEFENDANT:
     181 pleaded guilty to count(s) _O:..:n:;e_o_f_th_e_I_n_d_ic_tm_en_t_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D was found guilty on count(s)·_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                      Nature of Offense                                                                                 Number(s)
18:1962(d); 18:1963                   Conspiracy to Conduct Enterprise Affairs Through a Pattern of                                        I
                                      Racketeering Activity




       The defendant is sentenced as provided in pages 2 through                 5          of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 19lf4.
 o   The defendant has been found not guilty on oouOt(5) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 ~
                            . . g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D
 15(1 Count(s). :r::::em:=al:::DJ:::n"'                                                         are~
                                                                                                    IV! d'Ismlsse
                                                                                                             . d on themotIon
                                                                                                                          . 0fth e United States.

 181 Assessment: $100.00.

 181 No fine                                       D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                     TED STATES DISTRICT JUDGE


                                                                                                                                          13-cr-0451O-JAH-2
  Case 3:13-cr-04510-JAH                      Document 1283               Filed 04/08/16        PageID.6370            Page 2 of
                                                                      5

AO 2458 (CASO) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                 Judgment _ Page _-=2,-- of    5
 DEFENDANT: Alvin Bernard Mitchell -2
 CASE NUMBER: 13-cr-04S10-JAH-2
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         Eighteen months to be calculated from the date ofsenteneing. April 4, 2016 and run consecutive to State of Nevada case
         #C132927341.


     o Sentence imposed pursuant to Title 8 USC Section 1326(b).
     181 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends custody be served in the State of Arizona.




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.       Op.m.       on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before -------------------------------------------------
        o as notified by the United States Marshal.
         D as notified by the Probation or Pretrial Services Office.

                                                                 RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                      to

at                                                   with a certified copy of this judgment.


                                                                                               UNIlED STAlES MARSHAL


                                                                      By
                                                                                          DEPUTY UNITED STAlES MARSHAL




                                                                                                                    13-cr-04S10-JAH-2
      Case 3:13-cr-04510-JAH                     Document 1283                 Filed 04/08/16             PageID.6371              Page 3 of
                                                                           5

AO 245B (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page   ~          of _--,5,-__
DEFENDANT: Alvin Bernard Mitchell -2
CASE NUMBER: 13-cr-04510-JAH-2
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Three years. (The Court does not object to supervision being served in the State of Nevada).

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of2000. pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The detendant shall comply with tfie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION

  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                    13-cr-04510-JAH-2
   Case 3:13-cr-04510-JAH                   Document 1283               Filed 04/08/16           PageID.6372            Page 4 of
                                                                    5




    AO    (Rev. 9/00) Judgment in a Criminal Case Sheet 3                                    Judgment-Page 1. of         2.
    - Continued 2 - Supervised Release

    Defendant: MITCHELL, Alvin Bernard


     CASE NUMBER: 13CR04S10-JAH-2

                                          SPECIAL CONDITIONS OF SUPERVISION


1. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

2. Resolve all outstanding warrants within 90 days.

3. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or data storage devices or media,
As well as social media accounts, and effects to search at any time, with or without a warrant, by any law enforcement or probation officer
with reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct, and otherwise in the lawful
discharge of the officer's duties. 18 U.S.c. §§ 3563 (b)(23); 3583 (d)(3).

 4. Not use or possess devices which can communicate data via modem or dedicated connection and may not have access to the
Internet without prior approval from the court or the probation officer. The offender shall consent to the installation of systems that
will enable the probation officer to monitor computer use on any computer owned or controlled by the offender. The offender shall pay
for the cost of installation of the computer software.


5. Shall not associate with any known member, prospect, or associate of the MOB/Skanless, or any other gang, or club with a history
of criminal activity, unless given permission by the probation officer.


6. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third-
party communication, with the victim or victim's family, without prior approval of the probation officer.


7. Shall not loiter, or be present in locations known to be areas where known gang members congregate, unless given permission by
the probation officer.


8.. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a known
gang, unless given permission by the probation officer.


9. Not associate with known prostitutes or known pimps andlor loiter in areas frequented by those engaged in prostitution.


10. Not possess any materials such as videos, magazines, photographs, computer images or other matter that depicts "sexually explicit
conduct" involving children andlor adults, as defined by 18 U.S.C. § 2256(2); and not patronize any place where such materials or
entertainment are the primary material available.
   Case 3:13-cr-04510-JAH                 Document 1283               Filed 04/08/16           PageID.6373           Page 5 of
                                                                  5




Defendant: MITCHELL, Alvin Bernard                                                                 Judgment-Page 1.. of        .2.

CASE NUMBER: 13CR0451O-JAH-2


                                        SPECIAL CONDITIONS OF SUPERVISION



II. The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
necessary by the probation officer. Such program may include group sessions led by a counselor, or participation in a program
administered by the probation office. The defendant may be required to contribute to the cost of the services rendered (copayment) in
the amount to be determined by the probation officer, based on the defendant's ability to pay.


12. Reside in a half-way house for six months. (punitive placement).


13. Participate in a program of mental health treatment and counseling as approved by the probation officer. In that regard, you are to
take any medication, medicine or other medication prescribed by a psychiatrist or a physician, and you are not to discontinue any
medication without the permission of the health care provider or this court. You may be required to contribute to the cost of that
treatment based upon your ability to pay. And you are to allow reciprocal release of infonnation between the health care provider and
the probation officer to facilitate treatment and rehabilitation.


14. You are to provide complete disclosure of personal and business financial records to the probation officer as requested.


15. You are participate in a program of drug or alcohol abuse treatment including urinalysis and sweat-patch testing and counseling
as
directed by the probation officer. You may be required to contribute to the cost of that treatment based upon your ability to pay as
determined by the probation officer. And you are to pennit reciprocal release of infonnation between the treatment provider and the
probation officer to facilitate treatment and rehabilitation.


16. You are to reside in a halfway house as a punitive placement for a period of six months.
